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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

JULIO A. ATILES-GABRIEL,

          Petitioner,

          v.
                                                        Civil No. 15-2108 (BJM)
COMMONWEALTH OF PUERTO RICO,

et al.,

          Respondents.



                                  OPINION AND ORDER
          Petitioner Julio A. Atiles-Gabriel (“Atiles”) filed for a writ of habeas corpus under

28 U.S.C. § 2254 on August 17, 2015 following his state-court convictions of first degree

murder, 33 L.P.R.A. § 4002; auto theft, 33 L.P.R.A. § 4279(b); possessing a firearm

without a license, 25 L.P.R.A. § 416; and bearing or using a weapon without a license, 25

L.P.R.A. § 418. See Dkt. 2. Atiles claims ineffective assistance of trial counsel and

constitutional violations resulted in his convictions and requests a new trial. See Dkt. 59 at

2, 31. Respondents, the Commonwealth of Puerto Rico, Warden Edward Garcia-Soto of

the Puerto Rico Department of Corrections and Rehabilitation, and Attorney General Cesar

Miranda, moved for summary judgment. See Dkt. 97. Respondents argue that Atiles is

time-barred from seeking habeas relief, has not exhausted his state court remedies, has

procedurally defaulted on his claims, and is precluded from filing this writ by res judicata.

Id. Atiles opposed the motion. Dkt. 113. Respondents replied. Dkt. 116. This case is before

me on consent of the parties. Docket No. 89.

          Because Respondents have demonstrated that there is no genuine dispute of

material fact as to Petitioner’s failure to exhaust his state remedies, the motion for summary

judgment is GRANTED.
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                             SUMMARY JUDGMENT STANDARD
          Summary judgment is appropriate when the movant shows “there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). A dispute is “genuine” only if it “is one that could be resolved in

favor of either party.” Calero-Cerezo v. U.S. Dep’t of Justice, 355 F.3d 6, 19 (1st Cir.

2004). A fact is “material” only if it “might affect the outcome of the suit under the

governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The moving

party bears the initial burden of “informing the district court of the basis for its motion, and

identifying those portions” of the record materials “which it believes demonstrate the

absence” of a genuine dispute of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986).

          The court does not act as trier of fact when reviewing the parties’ submissions and

so cannot “superimpose [its] own ideas of probability and likelihood (no matter how

reasonable those ideas may be) upon” conflicting evidence. Greenburg v. P.R. Mar.

Shipping Auth., 835 F.2d 932, 936 (1st Cir. 1987). Rather, it must “view the entire record

in the light most hospitable to the party opposing summary judgment, indulging all

reasonable inferences in that party’s favor.” Griggs-Ryan v. Smith, 904 F.2d 112, 115 (1st

Cir. 1990). The court may not grant summary judgment “if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson, 477 U.S. at

248. But the nonmoving party “must do more than simply show that there is some

metaphysical doubt as to the material facts,” Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 586 (1986), and may not rest upon “conclusory allegations,

improbable inferences, and unsupported speculation.” Medina-Muñoz v. R.J. Reynolds

Tobacco Co., 896 F.2d 5, 8 (1st Cir. 1990).

                                           BACKGROUND 1

          1
        Respondents’ Statement of Uncontested Facts (“SUF”), Dkt. 97-1; Petitioner’s Opposing
Statement of Material Facts (“OSF”) Dkt. 113-1.
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         Except where otherwise noted, the following facts are drawn from the parties’ Local

Rule 56 2 submissions and presented in the light most favorable to the non-moving party.

         In April 1998, Atiles was convicted of first degree murder, auto theft, possessing a

firearm without a license, and bearing or using a weapon without a license. Dkt. 2 at 4. The

court sentenced him to 144 years of imprisonment. Atiles appealed his conviction in the

Puerto Rico Court of Appeals, which affirmed the lower court’s judgment on March 9,

1999. Dkt. 97-2. Atiles received notice of the judgment on March 15. Dkt. 97 at 18. The

appellate opinion reviewed the record and found that Atiles’s arrest was constitutional and

that the jury properly found him guilty beyond a reasonable doubt. SUF ¶ 25 (citing Dkt.

97-2 at 17).

         Atiles filed a pro se Rule 192.1 petition in 2000 and again in 2003. 3 SUF ¶¶ 6, 9

(citing Dkt. 102-1, 102-3). The first motion cited illegal arrest, false testimony, false

witnesses, and fabrication of the case against him as grounds for the motion. Dkt. 102-1.

The Court of First Instance dismissed the motion because “[t]he arguments made by the

petitioner essentially coincide[d] with those alleged in the appeal which affirmed the

judgment in the present case.” Dkt. 102-2. Atiles did not appeal but filed a second pro se



         2
           Local Rule 56 is designed to “relieve the district court of any responsibility to ferret
through the record to discern whether any material fact is genuinely in dispute.” CMI Capital
Market Inv. v. Gonzalez-Toro, 520 F.3d 58, 62 (1st Cir. 2008). It requires a party moving for
summary judgment to accompany its motion with a brief statement of facts, set forth in numbered
paragraphs and supported by citations to the record, that the movant contends are both uncontested
and material. D.P.R. Civ. R. 56(b), (e). The opposing party must admit, deny, or qualify those facts,
also with record support, paragraph by paragraph. Id. at 56(c), (e). The opposing party may also
present, in a separate section, additional facts, set forth in separate numbered paragraphs. Id. 56(c).
When the moving party replies to the opposition to a motion for summary judgment, that reply
must include a statement of material facts limited to those submitted by the opposing party. D.P.R.
Civ. R. 56(d). Like the party’s initial statement, this reply must “admit, deny, or qualify those
additional facts by reference to the numbered paragraphs of the opposing party’s statement of
material facts.” Id. While the “district court may forgive a party’s violation of a local rule,” litigants
ignore the Local Rule “at their peril.” Mariani-Colón v. Dep’t of Homeland Sec. ex rel. Chertoff,
511 F.3d 216, 219 (1st Cir. 2007).
         3
           Atiles alleges in passing that he filed a third Rule 192.1 motion, but there are no facts in
the record that support the existence of this third motion. Dkt. 113 at 3; see generally OSF.
Furthermore, Atiles states that it was denied and that he did not appeal. Id.
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Rule 192.1 motion two years later. OSF ¶ 7; SUF ¶ 33. That motion cited ineffective

assistance of counsel on appeal. Dkt.102-3; see generally Dkt. 59. The Court of First

Instance denied the second motion without providing a reason. Dkt. 102-4. Atiles again did

not appeal. OSF ¶ 13; SUF ¶ 33.

         Instead, Atiles filed a petition for federal writ of habeas corpus in October 2011.

SUF ¶ 31 (citing Dkt. 15). The petition raised the same arguments as his second Rule 192.1

motion: illegal arrest and inadequate assistance of counsel on appeal. 4 Dkt. 15. The court

dismissed his petition on jurisdictional grounds because Atiles had not exhausted his state

court remedies and thus was ineligible to apply for a federal writ of habeas corpus under

28 U.S.C. § 2254. Atiles-Gabriel v. Pagan-Monje, 2013 U.S. Dist. LEXIS 136904, *1

(D.P.R. 2013).

         In August 2015, Atiles filed his second federal petition for habeas corpus, which is

at issue in this case. Dkt. 2. His initial petition incorporates the same complaints made in

his prior Rule 192.1 submissions and first habeas petition. Id. The grounds stated were: (1)

false testimony, false witnesses, and fabrication of the case against him; (2) illegal arrest;

(3) ineffective assistance of counsel on appeal; and (4) denial of the right to appeal. Id. The

Amended Complaint stated new grounds. Dkt. 59 at 12–30. The new grounds supporting

the petition for habeas corpus are: (1) trial counsel’s failure to impeach purported

eyewitness or offer expert testimony on the perils of such testimony; (2) trial counsel’s


         4
           Atiles argued in his first petition for a federal writ of habeas corpus that trial counsel was
ineffective solely because she transferred the case to another attorney to handle the appeal. Dkt.
102-3. Atiles did not fault her assistance before or during trial. He stated: “this motion is filed in
light of the refusal by [trial counsel] when she abruptly abandoned Legal Aid in order to open a
private office, despite having in her hands a client to represent and to whom she had committed
herself on April 2, 1998 during the arraignment in front of an Hon. Judge to follow said case in
appeal, suddenly abandoned legal aid and without taking her client into account, she transferred the
captioned case to [appellate counsel] of the legal aid appeals division . . . .” Id. at 1. Atiles also
stated that “[trial counsel] did not provide [appellate counsel] the necessary information about the
case for her to defend Mr. Atiles.” Id. at 3. Atiles conceded, however, that “in the final report [trial
counsel] covered the entire sense of the case and it is shown that she had the knowledge and the
ability to represent and prepare the appeal proceedings.” Id. Atiles’s complaints as to trial counsel’s
assistance at trial were made for the first time in the Amended Complaint. See Dkt. 59.
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failure to structure arguments to suppress the out-of-court identifications; (3) trial counsel’s

interference with Mr. Atiles-Gabriel’s right to testify; (4) trial counsel’s failure to conduct

a proper pretrial investigation or call exculpatory witnesses at trial; (5) trial counsel’s

failure to structure argument to suppress his statements; and (6) trial counsel’s failure to

request a jury instruction on the dangers of eyewitness testimony and on motive. Id. An

amended complaint supersedes the original, so the court focuses on these grounds and

ignores those stated in the initial complaint. See Pac. Bell Tel. Co. v. Linkline Comms.,

Inc., 555 U.S. 438, 456 n.4 (2009) (citing 6 Charles A. Wright & Arthur R. Miller, Federal

Practice & Procedure § 1476 (2d ed. 1990)).

                                              DISCUSSION

         As a preliminary matter, Respondents assert that Atiles’s Rule 56 submission does

not comply with his duty to admit, deny, or qualify Respondents’ stated facts with citations

to the record. D.P.R. Civ. R. 56(c), (e). Respondents are correct that Atiles offered only

general responses. OSF ¶¶ 1–13. “[M]ere allegations or general denials are insufficient to

oppose a motion for summary judgment.” Brown v. Latin Am. Music Co., 498 F.3d 18, 21–

22 (1st Cir. 2007). The nonmovant “must set forth specific facts showing that there is a

genuine issue for trial.” Liberty Lobby, 477 U.S. at 248. The non-moving party cannot

overcome a properly supported motion for summary judgment without offering “‘any

significant probative evidence tending to support the complaint.’” Liberty Lobby, 477 U.S.

at 249 (citing First Nat’l Bank v. Cities Serv. Co., 391 U.S. 253, 290 (1968)).

         Under the Antiterrorism and Effective Death Penalty Act of 1996, 28 U.S.C. §

2254, a habeas petitioner generally must exhaust the remedies available in the state court

“before seeking relief on a given claim in federal court.” Jaynes v. Mitchell, 824 F.3d 187,

192 (1st Cir. 2016). “[A]s a matter of comity, federal courts should not consider a claim in

a habeas corpus petition until after the state courts have had an opportunity to act.”

Coningford v. Rhode Island, 640 F.3d 478, 482 (1st Cir. 2011) (quoting Rose v. Lundy, 455

U.S. 509, 515 (1982)). Remedies are considered not exhausted if the petitioner “has the
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right under the law of the State to raise, by any available procedure, the question

presented.” § 2254(c). An application for a writ of habeas corpus may not be granted unless

“the applicant has exhausted the remedies available in the courts of the State” or the State’s

own corrective process is either unavailable or “ineffective to protect the rights of the

applicant.” 28 U.S.C. § 2254(b)(1). The burden to prove exhaustion lies with the petitioner.

28 U.S.C. § 2254(b); Camacho v. Puerto Rico, 343 F. Supp. 2d 63, 65 (D.P.R. 2004); see

also Parker v. Kelchner, 429 F.3d 58, 62 (3d Cir. 2005).

         In Puerto Rico, a petitioner can use either of two tracks to seek post-conviction

relief. The petitioner may file a Rule 192.1 motion requesting the trial court to vacate, set

aside, or correct its judgment, 34 L.P.R.A. Ap. II R. 192.1, or the petitioner may request a

writ of habeas corpus pursuant to the Puerto Rico Code of Criminal Procedure. 34 L.P.R.A.

§§ 1741–43. In either case, the petitioner must appeal a lower court denial to the Court of

Appeals, and file a writ of certiorari to the Supreme Court in the case of an appellate denial.

34 L.P.R.A. § 1779. Only when that writ has been denied has the petitioner exhausted his

remedies and become eligible to file a habeas petition in federal court. 28 U.S.C. §

2254(b)(1).

         The parties agree that Atiles did not appeal the Rule 192.1 denials. OSF ¶¶ 7, 13;

SUF ¶ 33. Atiles states that the failure to appeal is immaterial, but this fundamentally

misunderstands the role summary judgment plays in litigation. OSF ¶¶ 7, 13. A material

fact is one that might affect the outcome of the suit under the governing law.” Liberty

Lobby, 477 U.S. at 248. Section 2254 governs habeas relief for prisoners in state custody.

28 U.S.C. § 2254(a). The law precludes a federal court from granting a petition for a writ

of habeas corpus unless “the applicant has exhausted the remedies available in the courts

of the State; or there is an absence of available State corrective process; or circumstances

exist that render such process ineffective to protect the rights of the applicant.” Id. at §

2254(b)(1)(A)–(B)(ii). If the petitioner “has the right under the law of the State to raise, by

any available procedure, the question presented,” then remedies have not been exhausted.
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Id. at § 2254(c). Therefore, this fact it is material by definition—it determines the outcome

of Atiles’s petition.

         The Rule 192.1 denials, as stated, were not appealed. OSF ¶¶ 7, 13; SUF ¶ 33.

Moreover, the six claims stated in the instant habeas petition were not included in those

Rule 192.1 motions. See Dkts. 102-1, 102-3. As a result, the claims have never been

presented to a Puerto Rico court for consideration. Rule 192.1 states that “[g]rounds not

included shall be considered to have been waived, unless the court, in consideration of a

subsequent motion, determines that they could not have been reasonably filed in the

original motion.” 34 L.P.R.A. Ap. II R. 192.1(a)(4). Though Atiles addresses claims of

exhaustion with regard to the habeas petition in general and incorporated prior arguments

made in the course of this petition, he does not specifically address the question of

exhaustion regarding these new claims made in the Amended Complaint. See generally,

Dkts. 39, 76, 113.

         As the non-movant, Atiles enjoys the benefit of ambiguities being construed in the

light most favorable to him. See Griggs-Ryan, 904 F.2d at 115. But a plaintiff cannot sit

passively in the face of a properly supported motion for summary judgment. Liberty Lobby,

477 U.S. at 256. A party opposing such a motion “may not rest upon mere allegation or

denials of his pleading, but must set forth specific facts showing that there is a genuine

issue for trial.” Id. (citing Fed. R. Civ. Pro. 56(e)). The record is unambiguous: Atiles failed

to pursue his state remedies to exhaustion. Even more troublingly, this court dismissed his

first habeas petition for exactly that reason. Atiles-Gabriel, 2013 U.S. Dist. LEXIS 136904.

In the years between that dismissal and the habeas filing in this case, Atiles did not pursue

those remedies and does not offer an explanation for this lapse that might excuse it. He

argues that, because the Court of Appeals “summarily dismissed” the ineffective assistance

of counsel claim, “an evidentiary hearing is required to resolve the factual issues raised by

the claims.” Dkt. 113 at 12–13. This misconstrues the parties’ burdens at this stage of

proceedings.
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         Atiles stands before this court with six unexhausted claims that must first satisfy

the requirements for a habeas petition before the court may consider them. See 28 U.S.C.

§ 2254(c). Atiles retains the right to raise these claims of ineffective counsel by a Rule

192.1 motion. As a pro se litigant, he may present a strong case as to why “they could not

have been reasonably filed in the original motion.” 34 L.P.R.A. Ap. II R. 192.1(a)(4). In

short, the exhaustion requirement requires Atiles to present these claims to the local court,

together with any arguments as to why they have not been waived, before seeking habeas

relief in federal court.

         Notwithstanding the above, Atiles makes two main arguments. He first asserts that

his failure to exhaust remedies should be excused because alleging ineffective assistance

of trial counsel opens the gateway to direct habeas relief. Dkt. 113 at 14–15. Atiles cites

cases in which the Supreme Court of the United States permitted ineffective assistance of

trial counsel claims to be raised at federal habeas proceedings without having raised the

claim earlier; however, these cases do not apply to Atiles’s situation. See Trevino v. Thaler,

569 U.S. 413, 416–17 (2013); Martinez v. Ryan, 566 U.S. 1, 17–18 (2012).

         Martinez holds “[w]here, under state law, claims of ineffective assistance of trial

counsel must be raised in an initial-review collateral proceeding, a procedural default will

not bar a federal habeas court from hearing a substantial claim of ineffective assistance at

trial if, in the initial-review collateral proceeding, there was no counsel or counsel in that

proceeding was ineffective.” 566 U.S. at 17. In Martinez, the Arizona law in question

precluded defendants from raising ineffective-assistance claims on direct appeal; a

defendant had to raise a claim of ineffective assistance of counsel during the first state

collateral review proceeding or else waived that claim. Id. at 16–17.

         Trevino expanded the Martinez exception to apply in cases where state law permits

ineffective assistance of counsel claims on direct appeal but state procedure makes it

“virtually impossible” to present such a claim in anything other than a collateral review

proceeding. Trevino, 569 U.S. at 417. This exception “applies only to States that
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deliberately choose to channel claims of ineffective assistance of trial counsel into

collateral proceedings.” Davila v. Davis, 137 S. Ct. 2058, 2068 (2017) (citing Lee v.

Corsini, 777 F.3d 46, 60–61 (1st Cir. 2015)). Atiles does not offer facts to support an

analogy between the Rule 192.1 waiver and the preclusive procedures in Martinez and

Trevino or why, in his case, there should be an exception. Atiles also fails to point to case

law supporting the application of the Martinez/Trevino standard in Puerto Rico. The

“settled appellate rule” is “that issues adverted to in a perfunctory manner, unaccompanied

by some effort at developed argumentation, are deemed waived.” United States v. Zannino,

895 F.2d 1, 17 (1st Cir. 1990), cert. denied, 494 U.S. 1082.

          Martinez is also distinguishable from the present case in one important aspect: the

petitioner in Martinez exhausted his state court remedies. In Martinez, the petitioner filed

a first state collateral review proceeding that did not include a claim of ineffective

assistance of counsel. Such a claim was then included in a second collateral proceeding but

was disallowed because it was not included in the first. Martinez then appealed this

decision to the Arizona Court of Appeals, which affirmed the finding of procedural default,

and unsuccessfully applied for certiorari to the Arizona Supreme Court. Martinez, 566 U.S.

at 6–7.

          Atiles, in sharp contrast, never raised his claims of ineffective assistance of trial

counsel in a Rule 192.1 motion, nor did he appeal the denials of this other two motions.

Atiles seems to believe that if he did so at this juncture, a finding of procedural default

would be a foregone conclusion, overlooking that Rule 192.1—and apparently unlike

Arizona’s procedural default rule at issue in Martinez—allows the court to consider why

the applicant could not have reasonably raised the claims in a previous motion. In any case,

until these claims are presented and denied by the state court, and found to be procedurally

defaulted, Martinez and Trevino are inapposite.

          The remaining case Atiles cites, Schlup v. Delo, concerns hearing successive or

abusive habeas claims on their merits. 513 U.S. 298, 327 (1995). “The petitioner must show
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that it is more likely than not that no reasonable juror would have convicted him in the light

of the new evidence.” Id. “Thus, a petitioner does not meet the threshold requirement unless

he persuades the district court that, in light of the new evidence, no juror, acting reasonably,

would have voted to find him guilty beyond a reasonable doubt.” Id. at 329. Citations to

Schlup overlook the fact that the defendant in that case exhausted his state court remedies

before turning to the federal courts for relief. Schlup, 513 U.S. at 306. Ultimately, this court

does not need to reach the question of successive claims.

         Atiles also argues that the law of the case doctrine precludes this court from

reexamining any previous rulings. Atiles misapprehends the doctrine. It is well established

that a “successor judge should respect the law of the case” and refrain from revisiting prior

orders without special circumstances. Ellis v. United States, 313 F.3d 636, 646 (1st Cir.

2002). Additionally, “when a court decides upon a rule of law, that decision should

continue to govern the same issues in subsequent stages in the same case.” United States

v. Wallace, 573 F.3d 82, 87–88 (1st Cir.2009) (internal quotation marks and citation

omitted). Atiles invokes decisions made at the same stage. Although time has passed since

the filing of those orders, they “occurred in the context of a single trial of a single case in

a single court, with no intervening appeal.” Flibotte v. Penn. Truck Lines, Inc. 131 F.3d 21,

25 (1st Cir. 1997). The district judge and the magistrate judge “play the same institutional

role” in this litigation. Id. As a result, the doctrine does not apply.

         Atiles argues that prior rulings ought to control the court’s response to the instant

motion for summary judgment. Dkt. 113 at 10–12. The court has denied two motions to

dismiss; it currently considers a motion for summary judgment. The first motion to dismiss

responded to the initial complaint and was denied without prejudice by the court. Dkt. 49.

A dismissal without prejudice, however, is final only to the filing to which it responds.

Semtek Int'l Inc. v. Lockheed Martin Corp., 531 U.S. 497, 505 (2001). A party may revisit

that claim or that issue later on in the litigation. The second ruling pertained to a motion to

dismiss the Amended Complaint. Dkt. 88. That ruling, however, has no impact on
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Respondents’ ability to move for summary judgment. These dispositive motions have

distinct burdens and play distinct roles in a proceeding. A motion to dismiss usually comes

early in a proceeding and attacks the sufficiency of a claim. A motion to dismiss may be

defeated by “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). In contrast, a motion for summary judgment

asserts that there is no genuine dispute of material fact. Moving for summary judgment

requires a party to demonstrate that there is “no genuine dispute as to any material fact and

[that] the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). This

requires more substantial evidence and approximates the directed verdict standard of a

reasonable jury. Liberty Lobby, 477 U.S. at 251–252.

         Finally, Atiles argues that the state record must be examined and an evidentiary

hearing must be held, but he does not offer facts on the record to overcome the threshold

issue of exhaustion. Dkt. 113 at 13–14. Exhaustion of state remedies protects the integrity

of the federal rule and reduces friction between the state and federal court systems.

Woodford v. Ngo, 548 U.S. 81, 92 (2006) (citing O’Sullivan v. Boerckel, 526 U.S. 838,

845, 848 (1999)). Where a petitioner alleges a constitutional violation at the state level, the

state courts must first have the opportunity to correct it. Woodford, 548 U.S. at 92. Atiles

has not met his burden to prove that he has given the Puerto Rico courts the opportunity to

do so. See Camacho, 343 F. Supp. 2d at 65. Because Atiles has not exhausted these claims,

I need not reach the question of whether his petition is time-barred.

         For the foregoing reasons, Respondents’ motion for summary judgment is hereby

GRANTED, and the petition is dismissed.
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         IT IS SO ORDERED.
         In San Juan, Puerto Rico, this 19th day of September, 2018.



                                                       S/Bruce J. McGiverin
                                                       BRUCE J. MCGIVERIN
                                                       United States Magistrate Judge
